            Case 2:18-cv-00262-TSZ Document 1 Filed 02/20/18 Page 1 of 11




 1

 2

 3

 4

 5
                             UNITED STATES DISTRICT COURT
 6
                            WESTERN DISTRICT OF WASHINGTON
 7

 8                                      )
     BRENDA TAYLOR, individually and as )
 9                                      ) No.______________________
     Executor of the Estate of CHE      )
10                                      )
     TAYLOR and JOYCE DORSEY            ) COMPLAINT FOR DAMAGES UNDER 42
11                                      ) U.S.C. § 1983
                Plaintiff,              )
12                                      )
          v.                            )
13                                      )
                                        )
14   CITY OF SEATTLE, MICHAEL           )
     SPAULDING, SCOTT MILLER, TIMOTHY )
15   BARNES AND AUDI ACUESTA            )
                                        )
16              Defendants.             )

17

18

19                              I. NATURE OF ACTION

20   1.1   Introduction.    This is a civil rights action brought by

21         Plaintiff    pursuant to 42 U.S.C. Sec. 1983 and the Fourth and

22         Fourteenth Amendments against the Defendants and their marital

23         community.    This case arises from claims of assault, excessive

24

25
     COMPLAINT FOR DAMAGES                            JAMES BIBLE LAW GROUP
                                                 14205 SE 36TH STREET, SUITE 100
     Page 1 of 11                                      BELLEVUE, WA 98006
                                                      Phone:(425) 519-3675
                                                       Fax: (425) 649-1199
              Case 2:18-cv-00262-TSZ Document 1 Filed 02/20/18 Page 2 of 11




 1         force, false arrest, unlawful seizure, tort of outrage,

 2         negligence and violation of RCW 49.60.

 3

 4

 5                                    II.    PARTIES

 6

 7

 8      2.1    Plaintiff BRENDA TAYLOR is the executor of the estate of Che

 9             Taylor and at all times relevant was Che Taylor’s wife.

10             Brenda Taylor is a resident of King County, Washington.

11      2.2    JOYCE DORSEY   is Che Taylor’s mother and currently resides

12             in the state of Texas.

13      2.3    Defendants Michael Spaulding. At all times relevant Michael

14             Spaulding was employed as law enforcement by the Seattle

15             Police Department and was acting within the course and scope

16             of his employment with the City of Seattle and under color

17             of law. All of Tre Smith acts alleged herein was taken for

18             the benefit for the City of Seattle and his marital

19             community.

20      2.4    Defendant Scott Miller.      At all times relevant Scott Miller

21             was employed as law enforcement by the Seattle Police

22             Department and was acting within the course and scope of

23             their employment with the City of Seattle and under color of

24             law. All of Scott Miller acts alleged herein were taken for

25
     COMPLAINT FOR DAMAGES                               JAMES BIBLE LAW GROUP
                                                    14205 SE 36TH STREET, SUITE 100
     Page 2 of 11                                         BELLEVUE, WA 98006
                                                         Phone:(425) 519-3675
                                                          Fax: (425) 649-1199
              Case 2:18-cv-00262-TSZ Document 1 Filed 02/20/18 Page 3 of 11




 1             the benefit of the City of Seattle and his marital

 2             community.

 3      2.5    Defendant City of Seattle.    Defendant City of Seattle (City)

 4             is a municipality within the State of Washington and

 5             employed the police officer that responded to the February

 6             21, 2016 incident involving Che Taylor.     The civil rights

 7             violations delineated herein were proximately caused by its

 8             customs, policies and usages.

 9      2.6    Unknown Seattle Police Officers.     At all times relevant,

10             the unknown police officers were employed as law enforcement

11             by the Seattle Police Department and were acting within the

12             course and scope of their employment with the City of

13             Seattle and under color of law.

14      2.7    Timothy Barnes: At all times relevant Timothy Barnes was

15             employed as law enforcement by the Seattle Police Department

16             and was acting within the course and scope of their

17             employment with the City of Seattle and under color of law.

18             All of Timothy Barnes acts alleged herein were taken for the

19             benefit of the City of Seattle and his marital community.

20      2.8    Audi Acuesta:   At all times relevant Audi Acuesta was

21             employed as law enforcement by the Seattle Police Department

22             and was acting within the course and scope of their

23             employment with the City of Seattle and under color of law.

24

25
     COMPLAINT FOR DAMAGES                              JAMES BIBLE LAW GROUP
                                                   14205 SE 36TH STREET, SUITE 100
     Page 3 of 11                                        BELLEVUE, WA 98006
                                                        Phone:(425) 519-3675
                                                         Fax: (425) 649-1199
              Case 2:18-cv-00262-TSZ Document 1 Filed 02/20/18 Page 4 of 11




 1             All of Audi Acuesta acts alleged herein were taken for the

 2             benefit of the City of Seattle and his marital community.

 3

 4

 5                            III. JURISDICTION AND VENUE

 6

 7   3.1   Jurisdiction.    Jurisdiction in this Court is based on the

 8         existence of a federal question pursuant to 28 U.S.C. §§ 1331

 9         and 1343, in that Plaintiff assert claims for deprivation of

10         civil rights under 42 U.S.C. § 1983 for violation of the Fourth

11         Amendments to the United States Constitution.

12   3.2   Venue. Venue for this action is appropriate in this Court

13         because the events giving rise to the claims asserted herein

14         occurred in the Seattle Division of this district and because

15         the plaintiff and defendants reside in this district.

16

17                                     IV.   FACTS

18

19      4.1    On February 21, 2016 at approximately 4:15 p.m. Che Taylor

20             was shot by multiple Seattle Police Officers. Che Taylor was

21             an African American Male.

22      4.2    Che Taylor died as a result of the multiple gunshot wounds

23             that he received from the February 21, 2016 shooting.

24

25
     COMPLAINT FOR DAMAGES                                JAMES BIBLE LAW GROUP
                                                     14205 SE 36TH STREET, SUITE 100
     Page 4 of 11                                          BELLEVUE, WA 98006
                                                          Phone:(425) 519-3675
                                                           Fax: (425) 649-1199
              Case 2:18-cv-00262-TSZ Document 1 Filed 02/20/18 Page 5 of 11




 1      4.3    Prior to the shooting, Che Taylor was standing in the

 2             doorframe of a white motor vehicle talking to people inside

 3             the vehicle.

 4      4.4    Officers Michael Spaulding and Scott Miller were observing

 5             Che Taylor in an undercover capacity prior to the shooting.

 6             Officer Spaulding and Officer Miller were watching Che

 7             Taylor from an undercover vehicle.

 8      4.5    Based upon their perceived observations, Officer’s Spaulding

 9             and Miller chose to approach and attempt to arrest Che

10             Taylor.

11      4.6    Officer’s Spaulding and Miller chose to approach Che Taylor

12             with long rifles because of the stopping power of these

13             particular firearms.

14      4.7    Officer’s Spaulding and Miller were wearing black tactical

15             jackets at the time that they chose to approach and attempt

16             to arrest Che Taylor.

17      4.8    At the time that Officer’s Spaulding and Miller began to

18             approach Che Taylor, a marked Seattle Police Vehicle began

19             to approach the scene.

20      4.9    officer’s Barnes and Acuesta were in the Seattle Police

21             Vehicle that was approaching the scene.

22      4.10 The Seattle Police Vehicle that Officer Barnes and Officer

23             Acuesata were in captured the audio and video of the

24             incident that forms the basis for this case.

25
     COMPLAINT FOR DAMAGES                              JAMES BIBLE LAW GROUP
                                                   14205 SE 36TH STREET, SUITE 100
     Page 5 of 11                                        BELLEVUE, WA 98006
                                                        Phone:(425) 519-3675
                                                         Fax: (425) 649-1199
            Case 2:18-cv-00262-TSZ Document 1 Filed 02/20/18 Page 6 of 11




 1      4.11 In the video, Officer Michael Spaulding and Scott Miller can

 2            be seen quickly approaching the Vehicle that Che Taylor was

 3            standing in with their guns drawn.

 4      4.12 In the audio recording, Multiple officers can be heard

 5            simultaneously giving Che Taylor conflicting commands.

 6      4.13 Some officers can be heard yelling at Che Taylor to put his

 7            hands up while other officers can be heard yelling at Mr.

 8            Taylor to get on the ground.

 9      4.14 The police officer commands to Mr. Taylor were being      yelled

10            at Che Taylor from multiple directions.

11      4.15 Che Taylor taylor can be seen on the video attempting to

12            comply with the simultaneous and conflicting commands of the

13            officers.

14      4.16 Che Taylor first puts his hands in the air and then attempts

15            to go to the ground as instructed by officers.

16      4.17 Che Taylor was shot by Officer Spaulding and Officer Miller

17            within seconds of their approach of Mr. Taylor.

18      4.18 After shooting Mr. Taylor, officers rolled his body over and

19            handcuffed him.

20      4.19 Critical minutes lapsed between the time in which Che Taylor

21            was shot and the time that officers allowed Medical

22            Emergency Personnel to render aid.

23

24

25
     COMPLAINT FOR DAMAGES                            JAMES BIBLE LAW GROUP
                                                 14205 SE 36TH STREET, SUITE 100
     Page 6 of 11                                      BELLEVUE, WA 98006
                                                      Phone:(425) 519-3675
                                                       Fax: (425) 649-1199
            Case 2:18-cv-00262-TSZ Document 1 Filed 02/20/18 Page 7 of 11




 1      4.20 Shortly after Che Taylor was shot, Seattle Police Officers

 2            began to turn their attention to the other individuals in

 3            the vehicle that Mr. Taylor had been standing by.

 4      4.21 Seattle Police Officers commanded the remaining individuals

 5            in the car to get out of it.

 6      4.22 The passenger in the backseat of the vehicle that Mr. Taylor

 7            was standing by had difficulty following police commands.

 8            The passenger in the back seat is a white female. First, the

 9            police instructed her to exit the vehicle out of the back

10            door that is on the driver side.   Rather than going to the

11            driver side back door, she lunged toward the passenger side

12            door. The backseat passenger also failed to comply with

13            officer commands when she initially got out of the vehicle.

14            Officers did not shoot her for her.

15      4.23 The driver of the white vehicle was a white male.      Officers

16            paid little to no attention to his actions or movements at

17            the time that they approached Mr. Taylor.

18      4.24 Mr. Taylor was ultimately shot and killed while attempting

19            to comply with conflict officer commands.

20      4.25 As a result of the actions of the police officers in this

21            incident,   Che Taylor was denied due process of law.

22

23

24

25
     COMPLAINT FOR DAMAGES                            JAMES BIBLE LAW GROUP
                                                 14205 SE 36TH STREET, SUITE 100
     Page 7 of 11                                      BELLEVUE, WA 98006
                                                      Phone:(425) 519-3675
                                                       Fax: (425) 649-1199
            Case 2:18-cv-00262-TSZ Document 1 Filed 02/20/18 Page 8 of 11




 1

 2

 3                              V. CAUSES OF ACTION

 4

 5   5.1   First Cause of Action.    By virtue of the facts set forth above,

 6         defendants are liable to the all plaintiffs for damages for

 7         negligence.

 8   5.2   Second Cause of Action.    By virtue of the facts set forth

 9         above, the Defendants are liable to all plaintiffs for the tort

10         of outrage.

11   5.3   Third Cause of Action.    By virtue of the facts set forth above,

12         the Defendants are liable to the plaintiff for false arrest.

13   5.4   Fourth Cause of Action.    By virture of the facts set forth

14         above, the Defendants are liable to the plaintiff for unlawful

15         seizure.

16   5.6   Sixth Cause of Action.     By virtue of the facts set forth

17         above, the Defendants are liable to the plaintiff for

18         Negligence.

19   5.7   Seventh Cause of Action. Per R.C.W 49.60.030 The Defendants are

20         liable to the plaintiff for violation of the plaintiff’s civil

21         rights to the right to be free from discrimination because of

22         race, creed, color, national origin, sex, honorably discharged

23         veteran or military status, sexual orientation, or the presence

24         of any sensory, mental, or physical disability or the use of a

25
     COMPLAINT FOR DAMAGES                            JAMES BIBLE LAW GROUP
                                                 14205 SE 36TH STREET, SUITE 100
     Page 8 of 11                                      BELLEVUE, WA 98006
                                                      Phone:(425) 519-3675
                                                       Fax: (425) 649-1199
             Case 2:18-cv-00262-TSZ Document 1 Filed 02/20/18 Page 9 of 11




 1         trained dog guide or service animal by a person with a

 2         disability is recognized as and declared to be a civil rights.

 3   5.8   42 U.S.C. §1983:   By virtue of the facts set forth above, all

 4         defendants are liable for compensatory and punitive damages for

 5         deprivation of civil rights of plaintiff Joyce Dorsey,

 6         guaranteed by the Fourteenth Amendments of the constitution of

 7         the United States and 42 U.S.C. §1983, to be free from their

 8         liberty interest in a familial relationship with her son, Che

 9         Taylor, without due process of law.

10   5.9   42 U.S.C. §1983:   By virtue of the facts set forth above, all

11         defendants are liable for compensatory and punitive damages for

12         deprivation of civil rights of plaintiff Brenda Taylor,

13         guaranteed by the Fourteenth Amendments of the constitution of

14         the United States and 42 U.S.C. §1983, to be free from their

15         liberty interest in a familial relationship with her son, Che

16         Taylor, without due process of law.

17   5.10 42 U.S.C. §1983:    By virtue of the facts set forth above, all

18         defendants are liable for compensatory and punitive damages for

19         deprivation of civil rights of plaintiff Estate of Che Taylor

20         (his Children), guaranteed by the Fourteenth Amendments of the

21         constitution of the United States and 42 U.S.C. §1983, to be

22         free from their liberty interest in a familial relationship

23         with their father, Che Taylor, without due process of law.

24

25
     COMPLAINT FOR DAMAGES                             JAMES BIBLE LAW GROUP
                                                  14205 SE 36TH STREET, SUITE 100
     Page 9 of 11                                       BELLEVUE, WA 98006
                                                       Phone:(425) 519-3675
                                                        Fax: (425) 649-1199
            Case 2:18-cv-00262-TSZ Document 1 Filed 02/20/18 Page 10 of 11




 1   5.11 42 U.S.C. §1983:    By virtue of the facts set forth above, all

 2         defendants are liable for compensatory and punitive damages for

 3         deprivation of civil rights of plaintiff Estate of Che Taylor,

 4         guaranteed by the Fourteenth Amendments of the constitution of

 5         the United States and 42 U.S.C. §1983, to be free from their

 6         liberty interest in a familial relationship with their family

 7         member, Che Taylor, without due process of law.

 8

 9   WHEREFORE, Plaintiff pray for the following relief:

10         1.    Compensatory Damages and punitive damages in an amount to

11               be proven at trial.   Plaintiff seeks punitive damages

12               against all defendants;

13         2.    For reasonable attorney’s fees and costs; and

14         3.    For such other and further relief as the Court deems just

15               and equitable.

16

17

18

19

20

21

22

23

24

25
     COMPLAINT FOR DAMAGES                            JAMES BIBLE LAW GROUP
                                                 14205 SE 36TH STREET, SUITE 100
     Page 10 of 11                                     BELLEVUE, WA 98006
                                                      Phone:(425) 519-3675
                                                       Fax: (425) 649-1199
            Case 2:18-cv-00262-TSZ Document 1 Filed 02/20/18 Page 11 of 11




 1      Dated this 20th day of February 2018,

 2

 3
                                                        _____________
 4                                      James Bible, WSBA # 33985
                                        Attorney for Plaintiff
 5

 6

 7
                                        /s/Shakespear Feyissa__________
 8                                      Shakespear Feyissa, WSBA #33747
                                        Attorney for the Plaintiff
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
     COMPLAINT FOR DAMAGES                            JAMES BIBLE LAW GROUP
                                                 14205 SE 36TH STREET, SUITE 100
     Page 11 of 11                                     BELLEVUE, WA 98006
                                                      Phone:(425) 519-3675
                                                       Fax: (425) 649-1199
